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  provided by local rules of co~~          11   o
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                                                           roved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
                                                                                                                                                                                                                 e>ITP'"'
  purpose of initiating the civil lJ       et   ee.     (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 L (a) PI ,AINTIFFS
 Cal'men l'\f1eves      1                                                                                      uM&N~raPet~l~merica, Office of General Counsel
 3404 Knights Road, Apt. 20                                                                                    330 C St., SW Suite 2600 Mary E. Switzer Bldg
 Bensalem, PA 19020                                                                                            Washington D. C. 20201
     (b) County of Residence of First Listed Plaintiff                Bucks County                               County of Residence of First Listed Defendant
                                  (EXCEPT IN US. PLAINTIFF CASES)                                                                       (JN US. PLAINTIFF CASK~ ON/,Y)
                                                                                                                 NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND JNVOL VED.


     <c) Fto~WrP.A..(Ft4Utfer,eE4s1{ufre~~[f~~el~.K.'L{;1R,                     LLC
                                                                                                                  Attorneys (If Known)
          P.O. Box 37008 Philadelphia, PA 19122


 II. BASIS OF JURISDICTION (Placean                           "X"inOneBoxOnly)                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an ·-x" Ill One Hox /nr /'/U/!I'
                                                                                                             (For Diversity Cases Only)                                               and One Hox tor I Jef('lld(ll// 1
 0 1 U.S. Government                       03    Federal Question                                                                     PJF              DEF                                           PTF             IHI
           Plaintiff                               (US. Government Not a Party)                         Citizen of This State           1              0 I       Incorporated or Principal Place           :•     4    -,


~ u.s.o.-moo•
                                                                                                                                                                   of Business In This State

                                           04    Diversity                                              Citizen of Another State            0 2         0   2    Incorporated and Principal Place          II          -,
           Defendant                               (Indicate Citizenship ofPartie~"lii-Jt~m Ill)                                                                    of Business In Another State                  '
                                                                                                                                            0 3         0   3    Foreign Nation                             -,    I•   -,

 IV. NATURE OF SUIT (Place an                        "X" in One Box Only)
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 0 110 Insurance                           PERSONAL INJURY                  PERSONAL INJURY             0 625 Drug Related Seizure                0 422 Appeal 28 USC 158           0 375 False Cla1111s Act
 0 120 Marine                          0   310 Airplane                   0 365 Personal Injury -             of Property 21 USC 881              0 423 Withdrawal                  0 400 State Reappon1rn1111c111
 0 130 Miller Act                      0   315 Airplane Product                 Product Liability       0 690 Other                                     28 USC 157                  0 410 Antitrusl
 0 140 Negotiable Instrument                   Liability                  0 367 Health Care/                                                                                        0 430 Banks and Ba11k111c
 0 150 Recovery of Overpayment         0   320 Assault, Libel &                 Pharmaceutical                                                    ~aR                         . ,,, 0 450 Commerce
        & Enforcement of Judgment               Slandh                          Personal Injury                                                   0 820 Copyrights                  0 460 Deportation
 0 I 51 Medicare Act                   0   330 Federal Employers'               Product Liability                                                 0 830 Patent                      0 4 70 Racketeer lntlnencect """
 0 152 Recovery of Defaulted                   Liability                  0 368 Asbestos Personal                                                 0 840 Trademark                          Corrupt Orga111zat1011:-.
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        (Excludes Veterans)            0   345 Marine Product                   Liability                                    '                                    ' ~               0 490 Cable/Sat TV
 0 153 Recovery of Overpayment                 Liability                   PERSONAL PROPERTY            0 710 Fair Labor Standards                0 861 HIA (1395ft)                0 850 Secunt1es1Commou111i.:-,
        of Veteran's Benefits          0   350 Motor Vehicle              0 370 Other Fraud                    Act                                0 862 Black Lung (923)                    Exchange
 0 160 Stockholders' Suits             0   355 Motor Vehicle              0 371 Truth in Lending        0 720 Labor/Management                    0 863 DIWC/DIWW (405(g))          0 890 Other Statutorv Ac1 '"'"
 0 190 Other Contract                          Product Liability          0 380 Other Personal                 Relations                          0 864 SSID Title XVI              0 891 Agricultural Acts

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 0 195 Contract Product Liability                                               Property Damage         0 740 Railway Labor Act                   0 865 RSI (405(g))                0 893 Environmental IVlallch
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                                                                              Habeas Corpus:
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  0 290 All Other Real Property        0 445 Amer. w/Disabilities -       0   535 Death Penalty
                                             Employment                       Other:                    0 462 Naturalization Application
                                       0 446 Amer. w/Disabilities -       0   540 Mandamus & Other      0 465 Other Immigration
                                             Other                        0   550 Civil Rights                Actions
                                       0 448 Education                    0   555 Prison Condition
                                                                          0   560 Civil Detainee -
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                                                                                  Confinement

 ·60RIGIN (Place an "X" in One Box Only)
   I Original   0 2 Removed from                              0   3       Remanded from            0 4 Reinstated or      0 5 Transferred from                   0 6 Multidistrict
     Proceeding       State Court                                         Appellate Court              Reopened               Another District                       Litigation
                                                                                                                                      (specify)
                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                       128 U.S.C. Section 2401 (b)
  VI. CAUSE OF ACTIONBriefdescriptionofcause:·
                        Defendant failed to properly treat and monitor Plaintiff who had severe reaction to imJDr.oper ,
  VII. REQUESTED IN     0 CHECK IF THlS IS A CLASS ACTION                     DEMAND $                                     CHECK YES 'only if de~de4 in com. plamt:
       COMPLAINT:            UNDER RULE 23, F.R.Cv.P.                           750,000.00                                 JURY DEMAND: /~ Yis            Cl No
  VIII. RELATED CASE(S)
                                                (See instructions):
        IF ANY                                                                                                                                       DOCKET NUMBER
  DATE
 07/02/2015
  FOR OFFICE USE ONLY

    RECEIPT#                      AMOUNT                                         APPL YING IFP                                   JUDGE                                   MAG.JUDGE
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                           Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 2 of 14




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               .                    IN THE UNITED STATES DISTRICT COURT
    .                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                   ,   .
.

                                CASE MANAGEMENT TRACK DESIGNATION FORM

                             Carmen Nieves                                          CIVIL ACTION

                                   v.
                             United States of                             15         3716
                             America                                                NO.

    In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
    plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
    filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
    side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
    designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
    the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
    to which that defendant believes the case should be assigned.

    SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
    (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )
    (b) Social Security - Cases requesting review of a decision of the Secretary of Health
        and Human Services denying plaintiff Social Security Benefits.                                   ( )
    (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )
    (d) Asbestos - Cases involving claims for personal injury or property damage from
        exposure to asbestos.                                                                            ( )
    (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
        commonly referred to as complex and that need special or intense management by
        the court. (See reverse side of this form for a detailed explanation of special


                                                                                                      (9
        management cases.)

    (f) Standard Management - Cases that do not fall into any one of the other tracks.




    Date
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    (Civ. 660) 10/02




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                                      Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 3 of 14
                                                                UNITED STATES DISTRICT COURT

assignment to approprili?'e clH'enll'!lf!""'                                                                                                  t5
                                                ENNSYLVANIA-DESIGNATION FORM to be used by counsel to indicate tbe category of the case for the purpti of
                                                                                                                                                              37 1 0
AddrcssofPiaintiff:                   3404 Knights Road, Apt 20, Bensalem, PA 19020
AddrcssofDefondant:                   330 C Street, SW, SUite 2600 1 Mary E Switzer Bldg., Washington DC
Place of Accident, Incident or Transaction:           Philadelphia 1 PA                                                                                           20201
                                                                               (Use Reverse Side For Additional Space)

Docs this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owni
     (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. l(a))                                      YesD

Does this case involve multidistrict litigation possibilities?                                                                         Yeso
RELATED CASE, IF ANY:
Case Number:                                           Judge                                                  Date Terminated: - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within 'one year previously terminated action in this court?
                                                                                                                                YesD       NoDil,
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               Yes'Dll.   NoD
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                                 YesD        N~


4. Is this case a second or successive habeas corpus, social security appeal, or pro sc civil rights case filed by the same individual?
                                                                                                                                       YesD        No@.


CIVIL: (Place    ti in ONE CATEGORY ONLY)
A      Federal Question Cases:                                                                                  B. Diversity Jurisdiction Cases:
 I. o Indemnity Contract, Marine Contract, and All Other Contracts                                              I. o Insurance Contract and Other Contracts
 2. o PELA                                                                                                      2.   o Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                                 3.   o Assault, Defamation
 4. o Antitrust                                                                                                 4.   o Marine Personal Injury
 5. o Patent                                                                                                    5.   o Motor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                                6.   o Other Personal Injury (Please specify)
 7. o Civil Rights                                                                                              7.   o Products Liability
 8. o Habeas Corpus                                                                                             8.   o Products Liability -        Asbestos
 9. o Securities Act(s) Cases                                                                                   9.   o All other Diversity Cases
I 0. o Social Security Review Cases                                                                                     (Please specify)

11    )t' All other Federal(Y)esin C~e(VJ
           (Please specify)              ~     Cd          &,
                                                               lPrttfJ JC,f
                                                                        ARBITRATION CERTIFICATION
                                                                                 (Check Appropriate Category)
I,        Robert A Huber                                             , counsel of record do hereby certify:
   o Pursuant to Local Civil Ruic 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
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                                                                                                                                              Attorney LD.#
                                             NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.



                                                 <--
I certify that, to my knowledge, the within case is
except as noted above.
                                                           n~..re.      d to any case now pending or within one year previously terminated action in this court



DATE:       <fu.li._t '2.- '£..(Wj                                                                                                               '5~-4~
CIV. 609 (5/2012)                 '                                                                                                        Attorney I.D.#
                 Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 4 of 14


~lf~~
        HUBER & PALSIR, LLC
        BY: ROBERT A. HUBER, ESQUIRE
                                                                                                     /
                                                                      Attorneys for Plainliff,___-
        IDENTIFICATION NO.: 58948                                     Carmen Nieves
        P.O.BOX 37008
        PHILADELPHIA, PA 19122
        (215) 627-0676-p
        rlt_llh~r@l.rnJ2~m.!!J_§ir&.Qm - email                                1.5          ~716
                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

        CARMEN NIEVES
        3404 Knights Road, Apt 20                                          CIVIL ACTION
        Bensalem, PA 19020

        vs.

        UNITED STATES OF AMERICA
        Office of the General Counsel
        General Law Division
        330 C Street, SW                                                   NO.:
        Suite 2600 - Mary E. Switzer Building
        Washing!filh D.C. 20201

                               PLAINTIFF'S CIVIL ACTION COMPLAINT

              1. Plaintiff, Carmen Nieves, is an adult individual who residing at the above-

        captioned premises at all times material hereto.

              2. Defendant, United States of America is a governmental entity who is the proper

        defendant in interest in this medical malpractice case, as the individuals and entity that

        were involved in the care at issue (Bryan Hollinger, M.D., Robert Reich, PA-C, Timothy

        D. Johnston, M.D., Timothy J. Leahman, M.D. and Esperanza Health Center, Inc. -

        hereinafter collectively referred to as the "Esperanza actors") are federal defendants by

        virtue of the Federally Supported Health Centers Assistance Act, 42 U.S.C. Section

        233(a), (g). As such, this case falls under the Federal Tort Claims Act, giving rise to

        Federal Court jurisdiction in this case.




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         Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 5 of 14




   3. At all ·times material hereto, the Esperanza actors were authorized to did regularly

conduct business in and treated plaintiff in the City of Philadelphia, Pennsylvania at all

times material hereto. Moreover, the Esperanza actors each reside in and do business in

Philadelphia, Pennsylvania.

   4. The Esperanza actors, and thus the United States of America, were the

business of providing professional medical care and services including primary care

services to plaintiff, Carmen Nieves.

    5. Plaintiff timely submitted her Administrative Claim for Damages against the

United States of America pursuant to the Federal Tort Claims Act.

    6. By letter dated and mailed January 23, 2015 from the Department of Health and

Human Services , plaintiffs aforementioned claim was denied. (A copy of said letter is

Attached hereto as exhibit "A").

    7. Suit was timely instituted against the United States of America within 6 months of

the mailing of the aforementioned letter in the appropriate federal district court, the

Eastern District of Pennsylvania.

    8. At all times material hereto, the individual Esperanza physician actors held

themselves out to plaintiff as physicians possessing the skill, knowledge, experience and

qualifications to render proper medical care and services to the plaintiff.

    9.    At all times material hereto, Robert Reich, PA-C held himself outto plaintiff as a

physician's assistant and medical professional possessing the skill, knowledge,

experience and qualifications to render proper medical care and services to the plaintiff.

    10. At all times material hereto, Esperanza Health Center held itself out as a provider

of medical care and services to plaintiff with competent physicians, physician's




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       Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 6 of 14




assistant( s) and medical staff possessing the skill, experience, knowledge and

qualifications to render proper medical care and services to plaintiff.

    11. At all times material hereto, the Esperanza Actors were acting by and through

his/her/ its authorized agents, workmen and servants, and/or employees, either actual,

apparent or ostensible, who were acting within the course and/or scope of their agency

and/or authority. As the Esperanza actors were each federal defendants acting on behalf

of the United States of America at all times material hereto, Plaintiff invokes the doctrine

of Respondeat Superior as to defendant United States of America.

    12.   At all times material hereto, the each Esperanza Actor was the agent, servant,

workman and/or employee of one another.

    13.   At all times material hereto, Esperanza Heath Center, Inc. (the United States of

America) owed a duty to plaintiff to select and retain only competent physicians; a duty

to oversee all persons who practice medicine within its walls as to patient care; and a duty

to formulate, adopt and enforce adequate rules and policies to ensure quality care for its

patients, including plaintiff.

    14.   At all times material hereto, Plaintiff was accepted as a patient at Esperanza

Health Center where had been a patient since at least January of2007. Plaintiff relied

upon Esperanza Health Center and its agents, servants, workmen and/or employees to

provide her with proper medical care and services at all times material hereto.

    15.   At all times material hereto, the care which is the subject of the instant

litigation that was provided to plaintiff by the United States of America by and through

Robert Reich, PA - C, Bryan Hollinger, M.D., Timothy D. Johnston, M.D. Timothy J.

Leahman, M.D. and Esperanza Health Center occurred in Philadelphia, PA.




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          Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 7 of 14




    16.     At all times material hereto, the United States of America knew or should have

known that plaintiff was HIV positive and was taking medications which included but are

not limited to N orvir and Prezista.

   17.     On or about July 20, 2011, plaintiff received medical care and services at

defendant Esperanza Health Center believed to have been provided by Robert Reich, PA-

C and/or Timothy D. Johnston, M.D. who signed that office note. At that time, plaintiff

was prescribed 80 mg of Pravachol to Plaintiff in addition to her other medications

including Norvir and Prezista.

    18.       On or about August 9, 2011, plaintiff received medical care and services at

defendant Esperanza Health Center believed to have been provided by Robert Reich, PA-

C and/or Timothy J. Leahman,M.D. who signed that office note. The office notes

document that plaintiff was still prescribed 80 mg of Pravachol including Norvir

and Prezista.

    19.      On or about September 13, 2011, plaintiff received medical care and services

at defendant Esperanza Health Center believed to have been provided by Robert Reich,

PA-C and/or Timothy J. Leahman, M.D. who signed that office note. The office notes

document that plaintiff was still prescribed 80 mg of Pravachol along with N orvir and

Prezista among other medications.

    20.      On or about October 13, 2011, plaintiff received medical care and services at

defendant Esperanza Health Center. The office notes document that plaintiff was still

prescribed 80 mg of Pravachol along with Norvir and Prezista among other medications.

    21.      On or about October 25, 2011, plaintiff received medical care and services at

defendant Esperanza Health Center believed to have been provided by Defendants Robert




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      Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 8 of 14




Reich, PA-C and/or Timothy D. Johnston, M.D. who signed that office note. The

aforementioned prescriptions were not discontinued at that time.

    22.       On or about December 7, 2011, plaintiff received medical care and services at

defendant Esperanza Health Center believed to have been provided by Defendants Robert

Reich, PA- C and/or Bryan Hollinger, M.D. who signed that office note. The

aforementioned prescriptions were not discontinued at that time.

    23.      On or about January 10, 2012, plaintiff received medical care and services at

defendant Esperanza Health Center believed to have been provided by Robert Reich,

PA- C and/or Bryan Hollinger, M.D. who signed that office note. The office notes

document that plaintiff was still prescribed 80 mg of Pravachol along with Norvir

and Prezista.

   24.    On or about January 21, 2012, Neshaminy Pharmacy and Ilhama Anzabi filled

and dispensed medication to Plaintiff including 80 mg of Simvastatin which

was labeled as 80mg of Pravachol (Pravastatin), instead of the prescribed 80 mg of

Pravachol.

   25. On or about March 1, 2012 and April 3, 2012, plaintiff received medical care

and services at defendant Esperanza Health Center believed to have been provided by

Robert Reich, PA - C and/or Bryan Hollinger, M.D. who signed that office note.

Plaintiffs aforementioned prescriptions were not discontinued at that time.

    26. The United States of America knew or should have known that the prescription

and use of the statin medication Simvastatin at the prescribed dosage of 80 mg was

contraindicated while taking Prezista and Norvir due to the increased risk of harm to

patients and interactions causing disability and even death.




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         Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 9 of 14




   27.    On or about April 29, 2012, Plaintiff presented to the emergency room at Aria

Health being "unable to bear weight or walk" and was admitted to the hospital where she

was found to suffer from severe rhabdomyolysis due to her statin therapy used in

conjunction with her retroviral therapy specifically Norvir and Prezista, causing plaintiff

to suffer serious and/or permanent injuries as hereinafter more fully set forth.

    28. The United States of America, by and through the Esperanza Actors performed

below standard of care in its/his/her care treatment and services provided to the plaintiff

which are the subject of the instant litigation and caused and/or increased the risk of harm

which the plaintiff was caused to suffer, including serious and/or permanent injuries as

hereinafter more fully set forth.

                                   COUNT I
                   PLAINTIFF v. UNITED STATES OF AMERICA

    29. Plaintiff incorporates by the preceding paragraphs 1. -25. as though same were

fully set forth herein.

    30. The carelessness, negligence and/or recklessness of the individual actors on

behalf of the United States of America, to wit: Robert Reich, PA-C, Bryan Hollinger,

M.D., Timothy D. Johnston, M.D., and Timothy J. Leahman, M.D. consisted of the

following:

         a. Prescribing statin medication 80 mg of Pravachol to Plaintiff in conjunction
            with her retroviral medication, specifically Norvir and Prezista, which placed
            plaintiff at an increased risk of adverse medication reaction;

         b. Failing to supervise and/or properly supervise Robert Reich, PA-C in the care
            and treatment of plaintiff, in particular in the prescribing of 80 mg of
            Pravachol (Pravastatin) to used in combination with Norvir and Prezista which
            were known to have potentially harmful and adverse interaction;

         c. Robert Reich, PA-C's failing to discuss the efficacy and propriety of
            prescribing 80 mg of Pravachol to plaintiff with his supervising physician( s)



                                              6
      Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 10 of 14




                in light the potential adverse medication interactions between 80 mg of
                Pravachol (Pravastatin) used in combination with Norvir and Prezista;



          d. Failing to counsel and/or properly counsel plaintiff and/or to explain to her the
             risks of using statin medications such as Pravachol and Simvastatin in
             combination with Norvir and Prezista;

          e. Failing to properly monitor plaintiffs combined use of statin medications with
             plaintiffs her retroviral medications Norvir and Prezista when he knew or
             should have known of the potential adverse effects of using 80mg of
             Pravachol with Norvir and Prezista;

          f.    Failing to perform and/or utilize a prospective drug review before prescribing
                plaintiffs aforementioned medication;

          g. Failing to utilize and/or follow proper protocols or procedures in the
             prescription and monitoring of plaintiffs medications as aforementioned.

   31. As a direct result of the carelessness, negligence, recklessness and breaches of

standard of care as above-noted, plaintiff Carmen Nieves was caused to suffer, physical,

mental and emotional injuries including but not limited to the inability to ambulate, loss

of bodily functions, organ damage and/or malfunction, and was caused to undergo

hospitalization and nursing care and may continue to require same in the future, all to her

great loss and detriment.

    32.        As a direct result of the carelessness, negligence, recklessness and breaches of

standard of care as above-noted, plaintiff was caused to and may continue to

require medical care and treatment, nursing care and/or assistance with activities of daily

living and to incur the costs and expenses of same, all to her great loss and detriment.

    33. As a direct result of the carelessness, negligence, recklessness and breaches of

standard of care as above-noted, plaintiff was caused to and may in the future

continue to suffer a loss of enjoyment of life's pleasures and activities, to endure great




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      Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 11 of 14




pain and suffering, mental anguish and the ability to live independently, all to her great

loss and detriment.

         WHEREFORE, Plaintiff Carmen Nieves, demands judgment in her favor and

against defendant United States of America in an amount in excess of Seventy Five

Thousand Dollars ($75,000.00), plus costs and interest.

                                    COUNT II
                    PLAINTIFF v. UNITED STATES OF AMERICA

   34. Plaintiff incorporates by reference the preceding paragraphs as though same were

fully set forth herein and plaintiff also invokes the doctrine of Respondeat Superior as to

defendant United States of America based upon the acts and/or omissions of Esperanza

Health Center, Inc.

   35.    The carelessness, negligence and/or recklessness of defendant United States of

America, by and through its corporate agents, servants workmen and/or employees which

deviated from the standard of care in this case consisted of the following:

         a. Prescribing statin medication 80 mg of Pravachol to Plaintiff in conjunction
            with her retroviral medication, specifically Norvir and Prezista, which placed
            plaintiff at an increased risk of adverse medication reaction;

         b. failing to supervise and/or properly supervise Robert Reich, PA-C in the care
            and treatment of plaintiff, in particular in the prescribing of 80 mg of
            Pravachol (Pravastatin) to used in combination with Norvir and Prezista which
            were known to have potentially harmful and adverse interaction;

         c. failing to counsel and/or properly counsel plaintiff and/or to explain to her the
            risks of using statin medications such as Pravachol and Simvastatin in
            combination with Norvir and Prezista;

         d. Failing to properly monitor plaintiffs combined use of statin medications with
            plaintiffs her retroviral medications Norvir and Prezista when he knew or
            should have known of the potential adverse effects of using 80mg of
            Pravachol with Norvir and Prezista;

         e. Failing to perform and/or utilize a prospective drug review before prescribing



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      Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 12 of 14




            plaintiff's aforementioned medication.

       f.   Failing to utilize and/or follow proper protocols or procedures in the
            prescription and monitoring of plaintiff's medications as aforementioned.

       g.   Failing to select and retain only competent physicians;

       h.   Failing to select and retain only competent physician's assistants and staff;

       i. failing to oversee and/or properly oversee all persons who practice medicine
    within its walls regarding plaintiff's medical care.

       WHEREFORE, Plaintiff Carmen Nieves, demands judgment in her favor and

against defendant United States of America, jointly and severally, in an amount in excess

of Seventy Five Thousand Dollars ($75,000.00), plus costs and interest.

Fifty Thousand Dollars ($50,000.00), plus costs and interest.

                                               HUBER & PALSIR, LLC




                                         ~
                                         BY:
                                               R:o1Je!tA:l1Cll1ire
                                               Attorney for plaintiff,
                                                                             'I


                                               Carmen Nieves

       Dated: July 2, 2015




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                                        Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 13 of 14

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    ..~-.)                     '""f,.                                                                      Office of the General Counsel

(        ~~                             DEPARTMENTOFHEALTH&HUMANSERVICES                                   General Law Division


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                                                                                                          3 3 0 C Street, SW
                                                                                                          Suite 2600 - Mary E. Switzer Building
                                                                                                          Washington, DC 20201




                             CERTIFIED MAIL-RETURN RECEIPT REQUESTED

                            Robert A. Huber, Esquire                                           .J~~ ~~ 1r 3: mr~
                            Huber & Palsir, LLC
                            P.O. Box 37008
                            Philadelphia, Pennsylvania 19122

                                                   Re:    Administrative Tort Claim of Carmen Nieves
                                                          Claim No. 2014-0369

                            Dear Mr. Huber:

                            Your client, Carmen Nieves, filed an administrative claim under the Federal Tort Claims Act,
                            28 U.S.C. §§ 1346(b), 2401(b), 2671-80. This letter constitutes the notice of final determination
                            on this claim, as required by 28 U.S.C. § 2401(b).

                           The Federal Tort Claims Act authorizes the settlement of any claim for money damages against the
                           United States for, inter alia, injury caused by the negligent or wrongful act or omission of any
                           employee of the Federal government while acting within the scope of employment under
                           circumstances where the United States, if a private person, would be liable to the claimant in
                           accordance with the law of the place where the act or omission occurred.

                          In describing the basis for this claim, you alleged that Ms. Nieves was improperly prescribed
                          certain medications alleged to be contraindicated with other medications that she was taking at that
                          time. The administrative claim does not contain the names of the providers or health center you
                          allege rendered negligent care causing harm to Ms. Nieves. However, documentation you
                          submitted along with the claim alleges that the acts you describe in the administrative claim were
                          committed by certain employees of Esperanza- Health Center in Philadelphia, Pennsylvania.

                          After review of Ms. Nieves' administrative claim and documents relating thereto, no evidence of
                          an injury caused by the negligent or wrongful act or omission of an employee of the Federal
                          government acting within the scope of employment was found. Accordingly, the Department of
                          Health and Human Services hereby denies the above-referenced claim.



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       Case 2:15-cv-03716-WB Document 1 Filed 07/02/15 Page 14 of 14



Page 2 - Robert A Huber, Esquire

If you are dissatisfied with the determination you may:

       1. file a vvritten request with the agency for reconsideration of the final determination
          denying the claim within six (6) months from the date of mailing of this determination
          (28 C.F.R. § 14.9); or

       2. file suit against the United States in the appropriate federal district court within six (6)
          months from the date of mailing of this determination (28 U.S.C. § 2401(b)).

                                              Sincerely yours,


                                            ,JV~(}-~/~Plh'JJ.
                                              William A Biglow
                                              Deputy Associate General Counsel
